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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )            8:08CR371
                    Plaintiff,                  )
                                                )
      vs.                                       )              ORDER
                                                )
ROLAND AWOUSSI and                              )
MABEL AWOUSSI,                                  )
                                                )
                    Defendants.                 )
      This matter is before the court on the government’s motion to continue trial (Filing
No. 72). Upon consideration, the motion will be granted.


      IT IS ORDERED:
      1.     The motion to continue trial (Filing No. 72) is granted.
      2.     Trial of this matter is re-scheduled for June 15, 2009, before Chief Judge
Joseph F. Bataillon and a jury.


      DATED this 20th day of May, 2009.
                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
